            Case 07-10416-BLS       Doc 2631-2      Filed 08/31/07     Page 1 of 3




                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


In re                                         Chapter 11
                                              Case No. 07-10416-KJC
NEW CENTURY TRS HOLDINGS,
                                              Objections due by: September 24 2007, 4:00 p.m.
                     Debtor.                  Hearing Date: October 2, 2007 at 1:30 p.m.



           NOTICE OF MOTION OF DEUTSCHE BANK NATIONAL
     TRUST COMPANY, AS TRUSTEE C/O OCWEN LOAN SERVICING, LLC
  FOR RELIEF FROM STAY UNDER SECTION 362 OF THE BANKRUPTCY CODE

TO:


 New Century TRS Holdings                       United States Trustee
 18400 Von Karman Ave.                          844 King Street, Room 2207
 Irvine, CA 92612                               Lockbox #35
 Debtor                                         Wilmington, DE 19899

 Mark D. Collins                                Bonnie Glantz Fatell
 Christopher M. Samis                           David W. Carickhoff, Jr.
 Richards, Layton & Finger                      Blank Rome LLP
 One Rodney Square                              1201 Market Street, Suite 800
 P.O. Box 551                                   Wilmington, DE 19801
 Wilmington, DE 19899                           Attorneys for the Official Committee
 Attorneys for the Debtor                        of Unsecured Creditors

 Suzanne S. Uhland                              Mark T. Power
 Ben H. Logan                                   Mark S. Indelicato
 O’Melveny & Myers LLP                          488 Madison Ave.
 275 Battery Street                             14th & 15th Floor
 San Francisco, CA 94111                        New York, NY 10022
 Attorneys for the Debtor                       Attorneys for the Official Committee
                                                 of Unsecured Creditors

        Deutsche Bank National Trust Company, as Trustee c/o Ocwen Loan Servicing, LLC has
filed a Motion for Relief from Stay which seeks the following relief: Relief from the automatic
stay to exercise its non-bankruptcy rights with respect to certain real property in which the
above-captioned debtor may hold an interest. A complete list of the real property to which the
motion relates is attached to the motion as Exhibit A.
HEARING ON THE MOTION WILL BE HELD ON OCTOBER 2, 2007 AT 1:30 P.M.
            Case 07-10416-BLS          Doc 2631-2      Filed 08/31/07     Page 2 of 3




ANY RESPONSE MUST BE FILED AND SERVED TOGETHER WITH A
CERTIFICATE OF SERIVCE ON OR BEFORE SEPTEMBER 24, 2007 AT 4:00 P.M.
EASTERN TIME. FAILURE TO TIMELY FILE AND SERVE A RESPONSE WILL
RESULT IN AN ORDER GRANTING THE RELIEF REQUESTED IN THE MOTION.

At the same time, you must also serve a copy of the response upon movant’s attorneys:

 James E. Clarke, Esquire          Thomas D.H. Barnett, Esquire      Adam Hiller, Esquire
 Draper & Goldberg, PLLC           Draper & Goldberg, PLLC           Draper & Goldberg, PLLC
 803 Sycolin Road, Suite 301       P.O. Box 947                      1500 North French Street
 Leesburg, VA 20175                512 East Market Street            2nd Floor
                                   Georgetown, DE 19947              Wilmington, DE 19801
                                                                     (302) 339-8776 telephone

       The hearing date specified above may be a preliminary hearing or may be consolidated
with the final hearing, as determined by the Court.

        The attorneys for the parties shall confer with respect to the issues raised by the motion in
advance for the purpose of determining whether a consent judgment may be entered and/or for
the purpose of stipulating to relevant facts such as value of the property, and the extent and
validity of any security instrument.

    IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE RELIEF REQUESTING IN THE MOTION MAY BE GRANTED BY THE
COURT WITHOUT FURTHER NOTICE OR HEARING.
Dated: August 31, 2007                        Respectfully submitted,
       Wilmington, Delaware
                                              DRAPER & GOLDBERG, PLLC


                                               /s/ Adam Hiller
                                              Adam Hiller (DE No. 4105)
                                              1500 North French Street, 2nd Floor
                                              Wilmington, Delaware 19801
                                              (302) 339-8776 telephone
                                              (302) 213-0043 facsimile

                                              and

                                              James E. Clarke, Esquire
                                              Draper & Goldberg, PLLC
                                              803 Sycolin Road, Suite 301
                                              Leesburg, VA 20175




                                                 -2-
Case 07-10416-BLS   Doc 2631-2   Filed 08/31/07   Page 3 of 3




                         and

                         Thomas D.H. Barnett (DE No. 994)
                         Draper & Goldberg, PLLC
                         P.O. Box 947
                         512 East Market Street
                         Georgetown, Delaware 19947

                         Attorneys for Movant




                           -3-
